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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

SCOTTSDALE CAPITAL ADVISORS CORP,                    )
AND JOHN HURRY,                                      )
                                                     )
                          Plaintiffs,                )
                                                     )     CASE NO. 1:16-CV-00545
               v.                                    )
                                                     )     Hon. Joseph Normand Laplante
THE DEAL, LLC AND WILLIAM MEAGHER,                   )
                                                     )
                          Defendants.                )
                                                     )


      DEFENDANTS’ NOTICE OF INTENT TO FILE A REPLY TO PLAINTIFFS’
            OBJECTION TO DEFENDANTS’ MOTION TO DISMISS

       NOW COME defendants The Deal, LLC and William Meagher, by their attorneys,

Shaheen & Gordon, P.A., and hereby provide notice of their intent to file a Reply to Plaintiffs’

Objection to Defendants’ Motion to Dismiss in accordance with Local Rule 7.1(e)(1).

DATED: February 17, 2017
                                                 Respectfully submitted,
                                                 The Deal, LLC and William Meagher
                                                 By Their Attorneys:
                                                 SHAHEEN & GORDON, P.A.

                                                 /s/ Steven M. Gordon
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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion to Dismiss was served on the following
persons on this date and in the manner specified herein:

       Electronically Served Through ECF:
              George R. Moore, Esq.- gmoore@devinemillimet.com
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Dated: February 17, 2017                           /s/ Steven M. Gordon
                                                   Steven M. Gordon, NH Bar #964




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